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                   EXHIBIT A
                 Case 4:22-cv-02934-YGR Document 1-1 Filed 05/18/22 Page 2 of 7




                                                                                                                                                    SUM-100

                                           SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                  (CITACION JUDICIAL)
                                                                                                                 ELECTRON ICALLY FlLED
NOTICE TO DEFENDANT:                                                                                                  Superior Court of Calornia
(AVISO AL DEMANDADO):                                                                                                    Courtty of Alameda
COSTCO WHOLESALE CORPORATION dba COSTCO BUSINESS CENTER and DOES 1 to 10
                                                                                                                                  04/08/2022
                                                                                                                 C    d F& e.         ajfrie Ohio&             of Vic Cg'ir.ri
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):                                                                                  ay:               C.'Clark                   Jemity
TROY JOHNSTON

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
    You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.goviselfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
 be taken without further warning from the court.
    There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
 referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
 costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
 iAVISOI Lo han demandado. Si no responde dentro de 30 dlas, la carte puede decidlr en su contra sin escuchar su version. Lea la informed& a
 continuaclOn.
    Tiene 30 0/AS DE CALENDARIO despues de que le entreguen esta citaciOn y papeles legates para presentar una respuesta par escrito en esta
 code y hacer que se entregue una copia al demandante. Una carta o una llamado telefOnica no lo protegen. Su respuesta par escrito tiene que ester
 en formeta legal coned()si desea que procesen su caso en la code. Es posible que haya un formulario que usfed pueda user para su respuesta.
 Puede encontrar estos formularios de la carte y mas informed& en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
 biblioteca de byes de su condado o en la carte que le quede mas cerca. S/no puede pager cuota de presentacion, pida al secretaria de la carte que
 le de un formulario de exenciOn de pago de cuotes. S/no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la carte le padre
 guitar su sued°, diner° y bienes sin mas advertencia.
    Hay ntros requisitos legates. Es recomendoblo quo lime a un abogado inniediatemente. S/no conoce a un abogado, puede !lamer a un servicio de
 remision a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
 programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Caries de California, (www.sucorte.ca.gov) o poniendose en contact° con la code o el
 colegio de abogados locales. AVISO: Parley, la carte tiene derecho a reclamar las cuotas y las costos exentos par imponer on gravamen sabre
 cualquier recuperacion de $10,000 6 mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
 pagar el gravamen de la code antes de que la code puede desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER:(AlCimero del Casa):
(El nombre y direcciOn de /a corte es): SUPERIOR COURT OF CA, COUNTY OF                                      22COO                           E353
 ALAMEDA, 24405 Amador Street, Hayward, CA 94544

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombro, In direcciOn y el nOrnero
de telefono del abogado del demandante, o del demandante que no tieleR.V.Ffitig Executtve Officer f Clerk ofthe Court
Leonard S. Becker - SBN: 113065; Law Offices of Leonard S. Becker, APC, 1728 B Street, Hayward, CA 94541 (510) 886-1996
DATE:       04108/2022                                                       Clerk, by        C. Clark                                               , Deputy
(Fecha)                                                                      (Secretario)                                                            (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                  NOTICE TO THE PERSON SERVED: You are served
                                      1.          as an individual defendant.
                                      2.          as the person sued under the fictitious name of (specify):

                                      3.     NI on behalf of (specify): COra                "''
                                                                                             "1 \a          &I
                                                                                                                              , `OvN
                                                                                                                      CCAVU'res                       ( to             CG   LQ

                                           under:     g.   CCP 416.10(corpYavuo        '14..e13                      CCP 416.60 (minor)
                                                           CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                           CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                         other (specify):
                                      4.          by personal delivery on (date):
                                                                                                                                                        Page 1 of 1
 Form Adopted for Mandatory Use                                       SUMMONS                                                   Code of Ch41Procedure §§ 412.20, 465
 Judicial Council of California                                                                                                                   www.courls.ce.gov
 SUM-100 (Rev. July 1.20091
                Case 4:22-cv-02934-YGR Document 1-1 Filed 05/18/22 Page 3 of 7




                                                                                                                                       PLD-PI-001
 ATTORNEY OR PARTY VvITHOUT ATTORNEY(Name, SIej
 LEONARD S. BECKER - SBN 113065
                                                       Yl r°Ad.eOss)i,
                                                                   z SBN 319716                                  FOR COURT USE ONLY

 LAW OFFICES OF LEONARD S BECKER, APC
 1728 B Street
 Hayward, CA 94541                                                                                  ELECTRONICALLY FILED
                         510-886-1996
             TELEPHONE NO:                        FAX NO.(Optional): 510-538-8089
                                                                                                    Superior Court of California,
                         lbecker@lsbackerlaw.com
 E-MAIL AODRESS (Optional):
    ATTORNEY FOR (Name): Plaintiff, TROY JOHNSTON
                                                                                                        County of Alameda
 SUPERIOR COURT OF CALIFORNIA, COUNTY OF ALAMEDA                                                    04/0812022 at 04:03:39 PM
  STREET ADDRESS: 24405 Amador Street
  MAILING ADDRESS: 24405 Amador Street                                                                   By: Cheryl Clark, Deputy Clerk
 CITY AND ZIP CODE: Hayward, CA 94544
     BRANCH NAME: Hayward Hall of Justice

   PLAINTIFF: TROY JOHNSTON
 DEFENDANT: COSTCO WHOLESALE CORPORATION dba COSTCO BUSINESS CENTER
   X        DOES 1 TO 10
                                                                                                  CASE NUMBER:
 COMPLAINT—Personal Injury, Property Damage, Wrongful Death
 I I A MENDED (Number):
 Type (check all that apply):
      MOTOR VEHICLE           OTHER (specify): Premises Liability; General Neg,
                                                                         ligence
     I I Property Damage        Wrongful Death
       X   Personal Injury    I Other Damages (specify):                                               22CV 00                            5'3
 J urisdiction (check all that apply):
       ACTION IS A LIMITED CIVIL CASE
        Amount demanded             does not exceed $10,000
                                    exceeds $10,000, but does not exceed $25,000
       ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
       ACTION IS RECLASSIFIED by this amended complaint
             from limited to unlimited
             from unlimited to limited
I. Plaintiff(name or names): TROY JOHNSTON
   alleges causes of action against defendant(name or names):
   COSTCO WHOLESALE CORPORATION dba COSTCO BUSINESS CENTER
2. This pleading, including attachments and exhibits, consists of the following number of pages: 5
3. Each plaintiff named above is a competent adult
   a.        except plaintiff(name):
                 (1)           a corporation qualified to do business in California
                 (2)           an unincorporated entity(describe):
                 (3)           a public entity (describe):
                 (4)           a minor          I an adult
                              (a)       for whom a guardian or conservator of the estate or a guardian ad !item has been appointed
                              (b)       other(specify):
                 (5) j         other(specify):
       b.        except plaintiff(name):
                 (1)      a corporation qualified to do business in California
                 (2)           an unincorporated entity(describe):
                 (3)           a public entity (describe):
                 (4)           a minor          I an adult
                              (a) I     for whom a guardian or conservator of the estate or a guardian ad litem has been appointed
                              (b)     I other(specify):

               — (5)         other(specify):-        - —     -    -
            I nformation about additional plaintiffs who are not competent adults is shown in Attachment 3,
                                                                                                                                             Page 1013
 Form Approved for Optional Use                     COMPLAINT—Personal Injury, Property                                  Code of Civil Procedure,§ 425.12
   Judicial Council of California                                                                                                       www.courts.cagoy
PLD.PI.001 [Rev. January 1, 2007]                        Damage, Wrongful Death
               Case 4:22-cv-02934-YGR Document 1-1 Filed 05/18/22 Page 4 of 7




                                                                                                                               PLD-PI-001
 SHORT TITLE:                                                                                    CASE NUMBER:
  JOHNSTON vs. COSTCO

4.            Plaintiff (name):
              is doing business under the fictitious name (specify):

        and has complied with the fictitious business name laws.
5. Each defendant named above is a natural person
  a.      except defendant(name): Costco }6.1holesaie Corporation c.                 except defendant(name):
                                       atia costco biusine'ss(enter
       (1)      a business organization, form unknown                                     a business organization, form unknown
      (2) I x a corporation                                                               a corporation
       (3)      an unincorporated entity (describe):                                      an unincorporated entity (describe):

            (4)           a public entity (describe):                                     a public entity (describe):


           (5)            other(specify):                                                 other(specify):




     b.       j except defendant(name):                                   d.         except defendant(name):
           (1)            a business organization, form unknown                (1)        a business organization, form unknown
           (2)            a corporation                                        (2)        a corporation
           (3)            an unincorporated entity (describe):                 (3)        an unincorporated entity (describe):

           (4)            a public entity (describe):                          (4)        a public entity (describe):


           (5)            other(specify):                                      (5)-
                                                                                  I 1 other(specify):


   I I Information about additional defendants who are not natural persons is contained in Attachment 5.
6. The true names of defendants sued as Does are unknown to plaintiff.
   a.        Doe defendants(specify Doe numbers): 1-10                               were the agents ar employees of other
             named defendants and acted within the scope of that agency or employment.
      b.        Doe defendants (specify Doe numbers): 1-10                              are persons whose capacities are unknown to
                plaintiff.
7.          Defendants who are joined under Code of Civil Procedure section 382 are (names).




8. This court is the proper court because
   a.        at least one defendant now resides in its jurisdictional area.
   b.        the principal place of business of a defendant corporation or unincorporated association is in Its jurisdictional area,
   C.        injury to person or damage to personal property occurred in its jurisdictional area.
   d.       other(specify):




9.           Plaintiff is required to comply with a claims statute, and
      a.         has complied with applicable claims statutes, or
      b.         is excused from complying because(specify):




PLO.P1.001112ev. January 1, 20071                   COMPLAINT—Personal Injury, Property                                                Papa 2013

                                                         Damage, Wrongful Death
                   Case 4:22-cv-02934-YGR Document 1-1 Filed 05/18/22 Page 5 of 7




                                                                                                                              PLD-PI-001
 SHORT TITLE:                                                                               CASE NUMBER:
  JOHNSTON vs. COSTCO

 10. The following causes of action are attached and the statements above apply to each (each complaint must have one or more
     causes of action attached):
     a. I     Motor Vehicle
      b.       x    General Negligence
      c. r           Intentional Tort
      d.           I Products Liability
      e.       x 1 Premises Liability
      f.   I        Other (specify):




1 1. Plaintiff has suffered
     a.         wage loss
      b.            loss of use of property
      C.       x hospital and medical expenses
      d.       x I general damage
      e.            property damage
      f.       x    loss of earning capacity
      g.            other damage (specify):
                    To be proven at trial.



12.        The damages claimed for wrongful death and the relationships of plaintiff to the deceased are
      a.      listed in Attachment 12.
      b. I  I as follows:




13. The relief sought in this complaint is within the jurisdiction of this court.




14. Plaintiff prays for judgment for costs of suit; for such relief as is fair, just, and equitable; and for
    a. (1) x compensatory damages
        (2)         punitive damages
          The amount of damages Is (in cases for personal injury or wrongful death, you must check (1)):
        (1)1 x I according to proof
        (2) I     I in the amount of: $
15.1 x 1The paragraphs of this complaint alleged on information and belief are as follows (specify paragraph numbers):
          All capable of being so alleged



Date: WIA             , 2022
                               , Jacquelyn Ruiz
                            (TYPE OR PRINT NAME)                                         1- -
                                                                                            (SIGNATURE     LAINTIFF OR ATTORNEY)


PLO-PI-001 (Rev. January 1, 2007)                  COMPLAINT—Personal Injury, Property                                             Page 3 of 3
                                                        Damage, Wrongful Death
                      Case 4:22-cv-02934-YGR Document 1-1 Filed 05/18/22 Page 6 of 7




                                                                                                                                               PLD-PI-001(4)
      SHORT TITLE:                                                                                            CASE NUMBER:

                            JOHNSTON vs. COSTCO


                            FIRST                        CAUSE OF ACTION—Premises Liability                                           Page             4
                            (number)
             ATTACHMENT TO       1     1 Complaint      ri Cross - Complaint
            (Use a separate cause of action form for each cause of action.)

              Prem.L-1. Plaintiff(name): TROY JOHNSTON
                          alleges the acts of defendants were the legal (proximate) cause of damages to plaintiff.
                          On (date): APRIL 16, 2020                          plaintiff was injured on the following premises in the following
                      fashion (description of premises and circumstances of injury):
Plaintiff was a patron of Costco Business Center, located in Hayward, CA. While removing an item from a pallet offering
patrons products, Plaintiff's foot became entrapped in the shrink wrap around the product and in the pallet, causing him to
fall backward and onto his lower back and hip, causing serious personal injuries. Defendants knew or should have known
that a dangerous condition existed on its premises, but failed to post warning signs and monitor its business premises,
creating a trap for the unwary patron such as Plaintiff shopping in its business. As a direct result of the Defendant's
negligence, Mr. Johnston suffered and continues to suffer, daniages, including, but not limited to, hospital and medical
expenses and general damages.

             Prem.L-2.            I x I Count One—Negligence The defendants who negligently owned, maintained, managed and
                                        operated the described premises were (names):
                                              COSTCO WHOLESALE CORPORATION dba COSTCO BUSINESS CENTER

                                           1 X    Does            1        to              5

             Prem.L-3.                     Count Two—Willful Failure to Warn [Civil Code section 846] The defendant owners who willfully
                                           or maliciously failed to guard or warn against a dangerous condition, use, structure, or activity were
                                           (names):



                                           E=I Does                        to
                                           Plaintiff, a recreational user, was   I        I an invited guest LJ a paying guest.
             Prem.L-4.            F-7 Count Three—Dangerous Condition of Public Property The defendants who owned public property
                                      on which a dangerous condition existed were (names):



                                                       r--1Does                      to
                                           a. I    I
                                       The defendant public entity had          actual = constructive notice of the existence of the
                                       dangerous condition in sufficient time prior to the injury to have corrected it.
                                       The condition was created by employees of the defendant public entity.
             Prem.L-5. a. I X Allegations about Other Defendants The defendants who were the agents and employees of the
                              other defendants and acted within the scope of the agency were (names):
                                           COSTCO WHOLESALE CORPORATION, dba COSTCO BUSINESS CENTER


                                            X     Does            1        to             10
                             b.   I       I The defendants who are liable to plaintiffs for other reasons and the reasons for their liability are
                                            -
                                            1   1 described in attachment Prem.L-5.b I         I as follows (names):




                                                                                                                                                           Page 1 of 1
      Form Approved for Optional Uso
        Judicial Council of California
    PLO-PI-001(4)(Rev. January 1, 2007J
                                                          CAUSE OF ACTION—Premises Liability
                                                                                                                    CfB
                                                                                                                 wwwxeLcom
                                                                                                                                     Code of Civil Procedure.§ 425.12
                                                                                                                                                  www.00urtinfo.ca.gov
                Case 4:22-cv-02934-YGR Document 1-1 Filed 05/18/22 Page 7 of 7




                                                                                                                               PLD-PI-001(2)
  SHORT TITLE:                                                                                   CASE NUMBER:
  JOHNSTON vs. COSTCO


    SECOND                                   CAUSE OF ACTION—General Negligence                                         Page              5
                   (number)
     ATTACHMENT TO I x                Complaint     I   Cross -Complaint
   (Use a separate cause of action form for each cause of action.)

     G N-1. Plaintiff(name): TROY JOHNSTON

             alleges that defendant(name): COSTCO WHOLESALE CORPORATION dba COSTCO BUSINESS CENTER

                              Does     1                    to 10
             was the legal (proximate) cause of damages to plaintiff. By the following acts or omissions to act, defendant
             negligently caused the damage to plaintiff

             on (date): APRIL 16, 2020
             at (place):COSTCO BUSINESS CENTER, 22330 Hathaway Avenue, Hayward, CA

           (description ofreasons for liability):



             On or about said date, Plaintiff, TROY JOHNSTON, was a patron of Costco Wholesale Corporation dba Costco Business
             Center in Hayward, CA. While removing an item from a pallet offered by Defendant, Plaintiffs foot became entrapped in the
             shrink wrap arm ind the pellet and in the pallet, causing him to fall backwards to the ground sustaining injuries to his low back,
             right hip, and lower extremities.


             Defendants, COSTCO WHOLESALE CORPORATION dba COSTCO BUSINESS CENTER and DOES 1 to 10, and each of
             them, negligently and carelessly owned, managed, inspected and maintained the premises so as to allow and create the
             dangerous conditions which necessitated that patrons reach, climb and/or are placed in dangerous positions to obtain
             products creating a trap for the unwary patron such as Plaintiff. No warning signs were placed warning patrons of a
             dangerous condition existing on the premises, and as a result, Plaintiff fell when removing the product and sustained injuries
             and damages as hereinafter set forth.

            As a result of the negligence of Defendants, and each of them, Plaintiff was injured in his health, strength and activity,
            sustaining injuries to his nervous system and person, all of which injuries have causes and will continue to cause Plaintiff
            great mental, emotional and physical pain and/or suffering. As a result of Plaintiffs injuries, he sustained damages for past,
            present and future medical treatment, the amount of which will be set forth in a sum according to proof.

            As a result of the negligence of Defendants, and each of them, Plaintiff has suffered general damages in a sum to be set
            forth according to proof.




                                                                                                                                          Page 1 of 1
  Form Approved for Optional Use                                                                                        Code of Civil Procedure 425.12
    Judicial Council of California
                                             CAUSE OF ACTION—General Negligence                                                     tvww.courfs.ca.gov
PLO-PI.001(2)[Rev. January 1, 2007)
